        Case
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                                                                 Page 11 of
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                     UNITED STATES COURT OF APPEALS                          NOV 01 2018

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                               FOR THE NINTH CIRCUIT                      U.S. COURT OF APPEALS




GUADALUPE SALAZAR; et al.,                       No.   17-15673

              Plaintiffs-Appellants,             D.C. No. 3:14-cv-02096-RS
                                                 Northern District of California,
 v.                                              San Francisco

MCDONALD’S CORPORATION; et al.,
                                                 ORDER
              Defendants-Appellees.


Before: THOMAS, Chief Judge, and KLEINFELD and GRABER, Circuit Judges.

      Submission of this case is vacated and deferred pending a decision by the

Supreme Court of California in Goonewardene v. ADP, LLC, 5 Cal. App. 5th 154

(2016), pet. for rev. granted, 388 P.3d 818 (Cal. Feb. 15, 2017) (S238941), or upon

further order of this Court.
